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                                                             EXHIBIT B

                                     Attorney and Paraprofessionals Information
                                                                           Hourly
     Name of                                  Year                         Billing   Total Billed      Total
   Professional                Title        Admitted        Department      Rate       Hours        Compensation
Richard Levin               Partner                1976     Corporate       1150           130.60   $   149,270.00
Philip Gelston              Partner                1979     Corporate       1150           120.40   $   138,460.00
Stephen Gordon              Partner                1982     Tax             1150             3.30   $     3,795.00
Andrew Needham              Partner                1995     Tax             1150            63.10   $    72,565.00
Michael Paskin              Partner                1996     Litigation      1130            59.30   $    67,009.00


Trevor Broad                Associate              2009     Litigation      750             18.80   $    14,100.00
Margot Miller               Associate         2011          Litigation      680             53.30   $    36,244.00
                                               *not
Michael Schwartz            Associate        admitted       Litigation      490             29.90   $    14,651.00
                                               *not
Antje Hagena                Associate        admitted       Tax             665             30.80   $    20,482.00

                            Legal                           Litigation
Lauren Gorab                Assistant              N/A      Support         225              1.50   $      337.50
                            Legal                           Litigation
James Wilkins               Assistant              N/A      Support         225             21.30   $     4,792.50
                                                            Technical
                            Technical                       Litigation
Justin McMullen             Litigation             N/A      Support         290              0.40   $      116.00

                                                                           TOTAL          532.70    $   521,822.00




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